 Case 1:19-cv-01903-RGA Document 22 Filed 02/07/20 Page 1 of 1 PageID #: 632




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


PELOTON INTERACTIVE, INC.,                     )
                                               )
              Plaintiff,                       )
                                               )         C.A. No. 19-1903-RGA
       v.                                      )
                                               )
ECHELON FITNESS LLC,                           )
                                               )
              Defendant.                       )


                           REQUEST FOR ORAL ARGUMENT

       Pursuant to D. Del. LR 7.1.4, Plaintiff Peloton Interactive, Inc. respectfully requests

argument on Defendant Echelon Fitness’s Renewed Motion to Dismiss Plaintiff’s Patent

Infringement Claims (D.I. 17). Briefing on the motion was completed on February 6, 2020.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Michael Flynn
OF COUNSEL:                                        Michael Flynn (#5333)
                                                   Anthony D. Raucci (#5948)
Steven N. Feldman                                  1201 North Market Street
Christina V. Rayburn                               P.O. Box 1347
Karen Younkins                                     Wilmington, DE 19899-1347
Kevin X. Wang                                      (302) 658-9200
Maxwell K. Coll                                    mflynn@mnat.com
HUESTON HENNIGAN LLP                               araucci@mnat.com
523 West Sixth Street, Suite 400
Los Angeles, CA 90014                              Attorneys for Plaintiff Peloton Interactive, Inc.
(213) 788-7272

February 7, 2020
